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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6                                          SAN JOSE DIVISION

                                   7

                                   8     IN RE GOOGLE RTB CONSUMER                          Case No. 21-cv-02155-YGR (VKD)
                                         PRIVACY LITIGATION
                                   9
                                                                                            INTERIM ORDER RE PENDING
                                  10                                                        DISCOVERY DISPUTES

                                  11                                                        Re: Dkt. Nos. 652, 660, 661, 662, 663, 664

                                  12
Northern District of California
 United States District Court




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                                  14          Several discovery disputes are pending before the Court. The Court orders further

                                  15   proceedings as follows:

                                  16          1.      Dkt. No. 660 – Plaintiffs’ Requests for Production Nos. 125-127 and 130- 133;
                                                      Dkt. No. 661 – Plaintiffs’ Interrogatory No. 22 and Requests for Production
                                  17                  Nos. 128-129
                                  18          In view of the presiding judge’s order denying with prejudice plaintiffs’ motion to certify a

                                  19   Rule 23(b)(3) damages class, see Dkt. No. 690 at 19-24, the parties shall advise the Court whether

                                  20   resolution of these disputes is necessary, and if so, whether the scope of these disputes can be

                                  21   narrowed. The parties shall file a single, short joint submission with respect to both disputes by

                                  22   April 19, 2024. The joint submission may not exceed 800 words total (or not more than 400

                                  23   words for each side) and may not include exhibits.

                                  24          2.      Dkt. No. 663 – Plaintiffs’ Request for Production No. 141
                                  25          The Court will hold a discovery hearing on this dispute on April 23, 2024 at 10:00 a.m. in

                                  26   Courtroom 2, 280 South First Street, San Jose, California.

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                                   1          3.     Dkt. No. 652 – Berntson Deposition Errata;
                                                     Dkt. No. 662 – Plaintiffs’ Interrogatory No. 23;
                                   2                 Dkt. No. 664 – Plaintiffs’ Requests for Authentication
                                   3          The Court will resolve these disputes, as well as the related dispute regarding materials

                                   4   from the Calhoun litigation (Dkt. No. 667), without a hearing.

                                   5          IT IS SO ORDERED.

                                   6   Dated: April 5, 2024

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                                                                                                   VIRGINIA K. DEMARCHI
                                   9                                                               United States Magistrate Judge
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                                  12
Northern District of California
 United States District Court




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